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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION


UNITED STATES OF AMERICA                                                                PLAINTIFF

V.                                 Case No. 4:20-cr-00025-KGB-3

KENNETH MYERS, JR                                                                     DEFENDANT

                                              ORDER

       On September 22, 2020, Defendant appeared before this Court for Plea and Arraignment.

Doc. 74. The Court found Defendant financially ineligible for appointment of counsel under 18

U.S.C. § 3006A, but it temporarily appointed the Federal Public Defender for purposes of that

hearing. Doc. 72. It directed Pretrial Services to investigate Defendant’s financial situation so it

could make a final determination as to Defendant’s eligibility for appointed counsel. The Court

has now received and reviewed Defendant’s financial records, and it finds him ineligible for the

appointment of counsel.

       A person is eligible for court appointed counsel if, after an appropriate inquiry, the court is

satisfied that the person “is financially unable to obtain counsel.” 18 U.S.C. § 3006A(b). “The

defendant bears the burden of establishing that he or she is financially unable to obtain counsel.”

United States v. Fincher, 593 F.3d 702, 705 (8th Cir. 2010) (citations omitted). “Financial inability

to pay ‘is not the same as indigence or destitution,’… and doubts as to eligibility should be resolved

in a defendant's favor.” United States v. Brockman, 183 F.3d 891, 897 (8th Cir. 1999) (citations

omitted).

       In support of his request for counsel, Defendant provided Pretrial Services with an account

of his monthly household income and expenses. Defendant includes his spouse’s income and

expenses in his disclosure, so this Court takes that to mean his spouse is willing to contribute to
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his legal expenses. See 7A Guide to Judiciary Policy § 210.40.50 (“eligibility should be made

without regard to the financial ability of the person’s family unless the family indicates willingness

and financial ability to retain counsel promptly.”). Defendant’s gross annual income is $142,800.

His spouse’s gross annual income is $85,009.08. Defendant’s net household monthly income is

$13,113.94. He reports $9,900.09 in monthly household cash outflow, including $943.53 for car

payments and $734.29 for telephone bills. Notwithstanding these seemingly excessive monthly

expenses, Defendant’s household still brings in a total of $3,233.85 per month. Based on these net

earnings, this Court finds Defendant financially able to obtain adequate counsel of his choosing.

Defendant must report who he has retained as counsel within thirty days. At that point, the Federal

Public Defender will be relieved as counsel, and the Court may require Defendant to reimburse

the Government for his representation in the interim.

       IT IS SO ORDERED this 14th day of October, 2020.




                                                        ___________________________________
                                                        UNITED STATES MAGISTRATE JUDGE
